Case 2:17-cv-01731-TSZ Document 21-3 Filed 03/08/18 Page 1 of 5




                      EXHIBIT 2
Camden, Delaware - Wikipedia                                                             https://en.wikipedia.org/wiki/Camden,_Delaware
                            Case 2:17-cv-01731-TSZ Document 21-3 Filed 03/08/18 Page 2 of 5
                                                                                               Coordinates: 39°06′48″N 75°32′31″W




         Camden, Delaware
         Camden is a town in Kent County, Delaware, United States. It is part
         of the Dover, Delaware Metropolitan Statistical Area. The population           Camden, Delaware
         was 3,464 at the 2010 census.[4]                                                         Town




           Contents
           History
           Geography
           Demographics
           Government                                                                 1805 Quaker Meetinghouse
           Notable people
           References




         History
         Camden was established in 1783 as a community originally known as
         Mifflin's Crossroads.[5] The Camden Historic District, Brecknock,
         Camden Friends Meetinghouse, Star Hill AME Church, and Zion
         African Methodist Episcopal Church are listed on the National Register
         of Historic Places.[6]


         Geography                                                                   Location of Camden in Kent County,
                                                                                                  Delaware.
         Camden      is   located   at   39°06′48″N      75°32′31″W   (39.1134458,
         -75.5418687).[7]

         According to the United States Census Bureau, the town has a total
         area of 1.9 square miles (4.9 km2), all land.

         Because of the small size of this town, and its even smaller neighbor of
         Wyoming, the U.S. Postal Service has jointly assigned the towns a
         single ZIP code, 19934, which is designated as the Camden-Wyoming
         ZIP code.


         Demographics
         As of the census[9] of 2000, there were 2,100 peoples, 835 households,
         and 573 families residing in the town. The population density was




1 of 4                                                                                                               3/6/2018, 10:58 AM
Camden, Delaware - Wikipedia                                                                 https://en.wikipedia.org/wiki/Camden,_Delaware
                         Case 2:17-cv-01731-TSZ Document 21-3 Filed 03/08/18 Page 3 of 5

         1,130.9 people per square mile (435.9/km²). There were 886 housing
         units at an average density of 477.1 per square mile (183.9/km²). The
         racial makeup of the town was 76.67% White, 18.00% African
         American, 0.81% Native American, 1.38% Asian, 0.14% Pacific
         Islander, 0.90% from other races, and 2.10% from two or more races.
         Hispanic or Latino of any race were 2.90% of the population.

         There were 835 households out of which 35.1% had children under the
         age of 18 living with them, 50.2% were married couples living together,
         15.3% had a female householder with no husband present, and 31.3%
         were non-families. 24.1% of all households were made up of individuals
         and 8.4% had someone living alone who was 65 years of age or older.
         The average household size was 2.51 and the average family size was
         3.02.

         In the town, the population was spread out with 27.0% under the age of
         18, 9.1% from 18 to 24, 30.7% from 25 to 44, 21.6% from 45 to 64, and
         11.6% who were 65 years of age or older. The median age was 36 years.
         For every 100 females there were 90.9 males. For every 100 females
         age 18 and over, there were 83.3 males.

         The median income for a household in the town was $47,097, and the
                                                                                      Location within the state of Delaware
         median income for a family was $50,347. Males had a median income                Show map of Delaware
         of $32,154 versus $25,261 for females. The per capita income for the               Show map of the US
         town was $21,113. About 1.8% of families and 4.9% of the population                      Show all
         were below the poverty line, including 4.7% of those under age 18 and     Coordinates: 39°06′48″N 75°32′31″W
         2.4% of those age 65 or over.                                             Country                   United States
                                                                                   State                     Delaware
         Government                                                                County                    Kent
                                                                                   Government
             Mayor: W.G. Edmanson II
                                                                                   • Type                    Mayor-council
             Vice-Mayor: Justin King                                               • Mayor                   W.G.
             Councilman: John Green                                                                          Edmanson II
             Councilman: Kevin Casquarelli                                         • Vice-Mayor              Justin King
             Councilman: Larry Dougherty
                                                                                   Area[1]
             Town Manager: Aaron Chaffinch
                                                                                   • Total                   3.70 sq mi
                 Previous office holders: James O. Plumley III   (????–2011)[10]                             (9.58 km2)
             Chief of Police: William Bryson (As of 2012)[10]                      • Land                    3.70 sq mi
                                                                                                             (9.58 km2)
                                                                                   • Water                   0.00 sq mi
         Notable people                                                                                      (0.00 km2)

             Ashley Coleman, Miss Delaware Teen USA 1999, Miss Teen USA            Elevation                 39 ft (12 m)
             1999 (born and grew up in Camden)                                     Population (2010)
             Eric Buckson, born in Camden and a current Kent County Levy           • Total                   3,464
             Court Commissioner
                                                                                   • Estimate (2016)[2]      3,489
             Henry Hayes Lockwood, born in Camden Civil War general.



2 of 4                                                                                                                 3/6/2018, 10:58 AM
Camden, Delaware - Wikipedia                                                                https://en.wikipedia.org/wiki/Camden,_Delaware
                          Case 2:17-cv-01731-TSZ Document 21-3 Filed 03/08/18 Page 4 of 5

             Charles L. Terry Jr., born in Camden, 65th Governor of Delaware         • Density              942.72/sq mi
             R. Thomas Wagner, Jr., State Auditor of Delaware and former                                    (364.03/km2)
             Mayor of Camden
                                                                                     Time zone              Eastern (EST)
                                                                                                            (UTC-5)
         References                                                                  • Summer (DST)         EDT (UTC-4)
                                                                                     ZIP code               19934
           1. "2016 U.S. Gazetteer Files" (https://www2.census.gov/geo/docs
                                                                                     Area code(s)           302
              /maps-data/data/gazetteer/2016_Gazetteer
              /2016_gaz_place_10.txt). United States Census Bureau. Retrieved        FIPS code              10-10760
              Jul 25, 2017.                                                          GNIS feature ID        213746[3]
           2. "Population and Housing Unit Estimates" (https://www.census.gov
              /programs-surveys/popest/data/tables.2016.html). Retrieved                         Historical population
              June 9, 2017.
                                                                                              Census      Pop.          %±
           3. "Camden" (https://geonames.usgs.gov
                                                                                               1870         657          —
              /apex/f?p=gnispq:3:::NO::P3_FID:213746). Geographic Names
              Information System. United States Geological Survey.                             1880         702         6.8%
           4. The Delaware Census State Data Center (https://web.archive.org                   1890         553       −21.2%
              /web/20161231141632/http://stateplanning.delaware.gov                            1900         586         6.0%
              /census_data_center/), Delaware Office of State Planning                         1910         553       −5.6%
              Coordination, 2011-04-08, www.stateplanning.delaware.gov,                        1920         531       −4.0%
              archived from the original (http://www.stateplanning.delaware.gov
                                                                                               1930         464       −12.6%
              /census_data_center/) on 2016-12-31
                                                                                               1940         682        47.0%
           5. http://www.delawareonline.com/article/20130820
              /NEWS/308200065/Old-feud-between-Camden-Wyoming-part-
                                                                                               1950         606       −11.1%
              local-lore?nclick_check=1                                                        1960       1,125        85.6%
           6. National Park Service (2010-07-09). "National Register Information               1970       1,241        10.3%
              System" (http://nrhp.focus.nps.gov/natreg/docs/All_Data.html).                   1980       1,757        41.6%
              National Register of Historic Places. National Park Service.                     1990       1,899         8.1%
           7. "US Gazetteer files: 2010, 2000, and 1990"                                       2000       2,100        10.6%
              (https://www.census.gov/geo/www/gazetteer/gazette.html). United
                                                                                               2010       3,464        65.0%
              States Census Bureau. 2011-02-12. Retrieved 2011-04-23.
                                                                                             Est. 2016    3,489 [2]     0.7%
           8. "Census of Population and Housing" (https://www.webcitation.org
                                                                                                  U.S. Decennial Census[8]
              /6YSasqtfX?url=http://www.census.gov/prod/www/decennial.html).
              Census.gov. Archived from the original (https://www.census.gov
              /prod/www/decennial.html) on May 12, 2015. Retrieved June 4,
              2015.
           9. "American FactFinder" (https://web.archive.org
              /web/20130911234518/http://factfinder2.census.gov/). United
              States Census Bureau. Archived from the original
              (http://factfinder2.census.gov) on 2013-09-11. Retrieved
              2008-01-31.
          10. Sanginiti, Terri; Barrish, Cris (2012-01-27), "Ex-official cited for
              theft and conspiracy" (http://www.delawareonline.com/article
              /20120128/NEWS01/201280328/-1/NLETTER01/Ex-official-cited-
              for-theft-and-conspiracy), The News Journal, delawareonline,
              retrieved 2012-01-28


         Retrieved from "https://en.wikipedia.org/w/index.php?title=Camden,_Delaware&oldid=826362853"




3 of 4                                                                                                                3/6/2018, 10:58 AM
Camden, Delaware - Wikipedia                                                                https://en.wikipedia.org/wiki/Camden,_Delaware
                         Case 2:17-cv-01731-TSZ Document 21-3 Filed 03/08/18 Page 5 of 5

         This page was last edited on 18 February 2018, at 18:20.

         Text is available under the Creative Commons Attribution-ShareAlike License; additional terms may apply. By using this
         site, you agree to the Terms of Use and Privacy Policy. Wikipedia® is a registered trademark of the Wikimedia
         Foundation, Inc., a non-profit organization.




4 of 4                                                                                                                3/6/2018, 10:58 AM
